Case 1:20-cv-00126-RKE Document 28 Filed 04/28/21 Page i1of1

UNITED STATES COURT OF INTERNATIONAL TRADE

 

VECOPLAN, LLC,

Plaintiff,
Before: Richard K. Eaton, Judge

v.
Court No. 20-00126

UNITED STATES,

Defendant.

 

ORDER

Upon consideration of Plaintiffs consent motion to designate Court No, 20-00126 as a test

case, it is hereby
ORDERED that the motion is granted; and it is
ORDERED that Court No. 20-00126 is designated a test case.

My

ist Richard K. Eaton
Judge

Dated: April 28, 2021
New York, New York
